Case 2:09-cv-02315-STA-cgc Document 12 Filed 07/20/09 Page 1 of 1   PageID 37



                      UNITED STATES DISTRICT COURT
            WESTERN DISTRICT OF TENNESSEE
                  WESTERN DIVISION


JAMES E. SMITH and                              JUDGMENT IN A CIVIL CASE
ASTRID SMITH

v.

NATIONWIDE MUTUAL FIRE                          CASE NO: 09-2315-A
INSURANCE COMPANY




DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of
Dismissal entered on July 20, 2009, this cause is hereby dismissed.




APPROVED:


s/ S. Thomas Anderson
UNITED STATES DISTRICT COURT

DATE: 7/20/2009                               THOMAS M. GOULD
                                         Clerk of Court


                                                s/Terry L. Haley
                                         (By)    Deputy Clerk
